Case 1:19-cv-07777-GBD Document 110

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UNITED STATES DISTRICT COURT \ SOCUMENT i
SOUTHERN DISTRICT OF NEW YORK ex ECTR CNICALLY FILED
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STATE OF NEW YORK, CITY OF NEW YORK, on Hee OCT 14.2019. |
STATE OF CONNECTICUT, and STATE OF ih DATE TE? en OW rr
VERMONT, ne
Plaintiffs,
~against-
UNITED STATES DEPARTMENT OF HOMELAND MEMORANDUM DECISION
SECURITY; SECRETARY KEVIN K. MCALEENAN, AND ORDER
in his official capacity as Acting Secretary of the United:
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States Department of Homeland Security, agent of Acting :
Secretary of the United States Department of Homeland
Security, UNITED STATES CITIZENSHIP AND
IMMIGRATION SERVICES; DIRECTOR KENNETH
T. CUCCINELLI I, in his official capacity as Acting
Director of United States Citizenship and Immigration
Service; and UNITED STATES OF AMERICA,

Defendants.

GEORGE B. DANIELS, United States District Judge:

Plaintiffs the State of New York, the City of New York, the State of

Fi. 7777 (GBD)

Connecticut, and the

State of Vermont bring this action against Defendants the United States Department of Homeland

Security (“DHS”); the United States Citizenship and Immigration Services (“USCIS”); Secretary

Kevin K. McAleenan, in his official capacity as Acting Secretary of DHS;

Cuccinelli I], in his official capacity as Acting Director of USCIS; and

Director Kenneth T.

the United States of

America. (Compl. for Declaratory and Injunctive Relief (“Compl.”), ECF No. 17.) Plaintiffs

challenge Defendants’ promulgation, implementation, and enforcement of ¢
on Public Charge Grounds, 84 Fed. Reg. 41,292 (Aug. 14, 2019) (to be cog

103, 212, 213, 214, 245, 248) (the “Rule”), which redefines the term

i rule, Inadmissibility
lified at 8 C.F.R. pts.

“public charge” and

establishes new criteria for determining whether a noncitizen applying for admission into the

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United States or for adjustment of status is ineligible because he ot she is likely to become a “public
charge.” (See id. § 2.) Plaintiffs seek, inter alia, (1) a judgment declaring that the Rule exceeds
Defendants’ statutory authority, violates the law, and is arbitrary and capricipus and an abuse of

discretion; (2) a vacatur of the Rule; and (3) an injunction enjoining DHS from implementing the

Rule. (/d. at 83-84.)

Plaintiffs now move pursuant to Federal Rule of Civil Procedure 65 for a preliminary

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injunction enjoining Defendants from implementing or enforcing the Rulé, which is scheduled to

take effect on October 15, 2019. (Pls.’ Notice of Mot., ECF No. 33.) They also move under the
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Administrative Procedure Act, 5 U.S.C. § 705, for a stay postponing the effective date of the Rule

pending adjudication of this action on the merits. (/d.) Plaintiffs’ motion for a preliminary

injunction and stay of its effective date is GRANTED.!

L FACTUAL BACKGROUND

A. Current Framework for Public Charge Determination.

The Immigration and Nationality Act (the “INA”) provides that the federal government
may deny admission or adjustment of status to any noncitizen who it determines is “likely at any
time to become a public charge.” 8 U.S.C. § 1182(a)(4)(A). In 1996, Congress enacted two pieces
of legislation focusing on noncitizens’ eligibility for public ‘benefits: and on public charge
determinations. It first passed the Personal Responsibility and Work Opportunity Reconciliation
Act, Pub. L. No. 104-193, § 403, 110 Stat. 2105, 2265-67 (1996) (the “Welfare Reform Act’),
which established a detailed—and restrictive—scheme governing hontcitizens? access to
benefits. It also passed the Illegal Immigration Reform and Immigrant Responsibility Act of 1996,
Pub. L. No. 104-208, § 531, 110 Stat. 3009, 3674-75 (1996) (IRIRA”), which amended the INA

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' This Court also grants, under separate order, the same preliminary injunction and stay in a related action,

Make the Road New York v. Cuccinelli, 19 Civ. 7993 (GBD). |
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by codifying five factors relevant to a public charge determination. Specifical

that in assessing whether an applicant is likely to fall within the definition of

y, I[RIRA provides

public charge, DHS

should, “at a minimum,” take into account the applicant’s age; health; family status; assets,

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resources, and financial status; and education and skills. 8 U.S.C. § 1 182(a)()(B)@).

In 1999, DHS’s predecessor, the Immigration and Naturalization Service (“INS”), issued

its Field Guidance on Deportability and Inadmissibility on Public Charge Gr
28,689 (May 26, 1999) (the “Field Guidance”), as well as a parallel propose
28,676, which “summarize[d] longstanding law with respect to public charge
guidance on public charge determinations” in light of IIRIRA, the Welfare Rg
recent legislation. 64 Fed. Reg. at 28,689. Both the Field Guidance and pi
“public charge” as a noncitizen who has become or is likely to become “pri
the government for subsistence, as demonstrated by either (i) the receipt of Pp
for income maintenance or (ii) institutionalization for long-term care at gover
(internal quotation marks omitted). Consistent with the INA, INS regulatic
Board of Immigration Appeals, and Attorney General decisions, they instry
evaluate a noncitizen’s likelihood of becoming a public charge by examini
noncitizen’s circumstances at the time of his or her application. /d. at 28,690

noted that “[t]he existence or absence of a particular factor should never be

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ounds, 64 Fed. Reg.
d rule, 64 Fed. Reg.
and provide[d] new
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marily dependent on
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ng the totality of the
The Field Guidance

the sole criterion for

determining if an alien is likely to become a public charge.” Id. (emphasis omitted). Although the

parallel proposed rule was never finalized, the Field Guidance sets forth the ¢

public charge determinations.

urrent framework for

 
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B. The 2018 Proposed Rulemaking and Rule.

On October 10, 2018, DHS published a notice of proposed rulemaking Inadmissibility on

Public Charge Grounds, 83 Fed. Reg. 51,114 (Oct. 10, 2018), which withdrew the 1999 proposed

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rule that INS had issued with the Field Guidance. /d. at 51,114. This newly p

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roposed rule sought,

among other things, to redefine “public charge,” and to amend the totality-of-the-circumstances

standard that is currently used in public charge determinations. See id. The notice provided a 60-

day period for public comments on the proposed rule. Id. DHS collected 266

vast majority of which opposed the rule.” 84 Fed. Reg. at 41,297; see als

(describing and responding to public comments).

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Subsequently, on August 14, 2019, DHS issued the Rule. It was fir

changes, as the proposed rule described in the October 2018 notice. Jd. at 4

41,297-303 (summarizing changes in Rule).

Under the Rule, “public charge” is to be defined as any noncitizen ‘

more public benefits .

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period.” Jd. at 41,501. The Rule defines “public benefit,” in turn, as bo

noncash benefits such as Supplemental Nutrition Assistance Program, N

housing and Section 8 housing assistance. Jd. Each benefit is to be c

calculating the duration of use, such that, for example, receipt of two benefit
count as two months. Id.

The Rule also provides a new framework for assessing whether a non

time to become a public charge. Specifically, the Rule enumerates an expan:
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of factors relevant to analyzing whether a person is likely to receive 12 mor
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. . for more than 12 months in the aggregate W

077 comments, “the

o id. at 41,304-484

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292; see also id. at

who receives one or
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fedicaid, and public
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s in one month would

citizen is likely at any
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within 36 months, See id. at 41,502-04. It includes, for example, family size, English-language

 
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proficiency, credit score, and any application for the enumerated public benefits, regardless of the

actual receipt or use of such benefits. /d The Rule designates the factors as “p

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“heavily weighted positive,” or “heavily weighted negative,” and instructs

“weigh” all such factors “individually and cumulatively.” Jd. at 41,397; se

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04. Under this framework, if the negative factors outweigh the positive

would be found likely to receive 12 months of public benefits in the future.

then be found inadmissible as likely to become a public charge. Conversely, i

outweigh the negative factors, the applicant would not be found inadmissibl

12 months of public benefits and thereby become a public charge. Jd. at 41,3

DHS published various corrections to the Rule as recent

2019. Inadmissibility on Public Charge Grounds; Correction, 84 Fed. R

2019). None of these corrections materially alter the new public charge deter

as outlined above. The Rule, as corrected, is set to go into effect on October

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ll. LEGAL STANDARD

“{A] preliminary injunction is ‘an extraordinary remedy “ney
right.’” Benisek v. Lamone, 138 S. Ct. 1942, 1943 (2018) (per curiam) (¢
obtain a preliminary injunction, the moving party must establish “that he is

the merits, that he is likely to suffer irreparable harm in the absence of prelij

balance of equities tips in his favor, and that an injunction is in the public int

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Res. Def. Council, Inc., 555 U.S. 7, 20 (2008).

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PLAINTIFFS HAVE DEMONSTRATED A LIKEL
OF SUCCESS ON THE MERITS OF THEIR CL

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The Administrative Procedure Act (“APA”) authorizes judicial rey

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positive,” “negative,”

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riew of agency rules.

Under the APA, a reviewing court must “hold unlawful and set aside agency action” that is “in
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excess of statutory jurisdiction, authority, or limitations”; is “not in accorda:

“arbitrary, capricious, [or] an abuse of discretion.” 5 U.S.C § 706(2)(A), (C).

likely to succeed on the merits of their claim that the Rule conflicts: with ‘the

respects.

A. Plaintiffs Satisfy the Threshold Justiciability Requirements.

As a preliminary matter, Defendants raise several arguments that Plain

justiciable. Specifically, they assert that Plaintiffs lack standing, the claims are

review, and Plaintiffs fall outside the zone of interests regulated by the Rule.
1. Plaintiffs Have Standing.
Article III of the U.S. Constitution limits the judicial power of federal

“Controversies.” U.S. Const. art. III, § 2, cl. 1. To invoke this power, a

standing to sue. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 408 (2013) (cit

plaintiff bears the burden of establishing standing, Rajamin v. Deutsche Ban

F.3d 79, 84 (2d Cir. 2014) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-
Mortg. Corp. v. Equifax, Inc., 583 F.3d 103, 108 (2d Cir. 2009)),'and such bu
claim and form of relief sought, DaimlerChrysler Corp. v. Cuno, 547 US. 3
demonstrate Article [II standing, the plaintiff must show that (1) “it has suff
particularized injury that is either actual or imminent,” (2) “the' injury is fa
defendant,” and (3) “it is likely that a favorable decision will redtess that inju
v. EPA, 549 U.S. 497, 517 (2007) (citing Lujan, 504 USS. at 560-61). “(T]he p
with standing is sufficient to satisfy Article III’s case-or-controversy require

Forum for Acad. & Institutional Rights, Inc., 547 U.S. 47, 52 n.2,(2006) (cita

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nce with law”; or is
Here, Plaintiffs are

APA in all of these

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courts to “Cases” or
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k Nat’l Tr. Co., 757
61 (1992); Premium
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32, 352 (2006). To
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Defendants, focusing on the first element, argue that Plaintiffs have na

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sufficient to confer standing. They principally argue that Plaintiffs’ claims ¢

ot alleged any injury

bf irreparable injury

“consist of potential future harms that, if they ever came to pass, would be spurred by decisions of
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third parties not before the Court,” and that these injuries are therefore too! attenuated and

speculative. (Mem. of Law in Opp’n to Pls.’ Mot. for a Prelim.’ Inj. (“Defs.? Opp’n”), ECF No.

99, at 7). In Defendants’ view, the Rule governs only DHS personnel and certain noncitizens, but
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does not directly affect Plaintiffs, either by requiring or forbidding any action on Plaintiffs’ part

or by expressly interfering with any of Plaintiffs’ programs. (/d.) Defendat
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context of challenges to federal immigration policies, courts have found state

nts argue that in the
standing only where

“the States’ claims arise out of their proprietary interests as ¢mployers or operators of state

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universities.” (Jd.) They further insist that certain of Plaintiffs’ alleged injuries, such as the health

effects arising from noncitizens forgoing health care, “would be born¢ by [the] affected

individuals, not [Plaintiffs].” (/d. at 9.) Finally, Defendants dismiss the alleged programmatic and

administrative harm as “[b]ureaucratic inconvenience” and “volimtary expenditures” that do not

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Plaintiffs sufficiently allege “concrete and particularized” injuries,

give rise to standing. (/d. at 10.)

They adequately

demonstrate, for example, that the Rule will have a chilling effect and dec
benefits programs, which will harm Plaintiffs’ proprietary interests as opera’
healthcare systems. (Pls.’ Reply in Supp. of Their Mot. for Prelim. Inj. and §

Review (“Pls.’ Reply”), ECF No. 102, at 1.) Namely, Plaintiffs allege that this

tease enrollment in
tors of hospitals and
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drop in participation

will reduce Plaintiffs’ consumers and revenue, including through Medicaid participants, while

simultaneously shifting costs of providing emergency healthcare and shelt

federal government to Plaintiffs, who offer subsidized healthcare services.

er benefits from the

Ud.) Other injuries

 
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include increased healthcare costs as noncitizen patients avoid preventative

costs since Plaintiffs are the administrators of the public benefits implicate

economic harm, including $3.6 billion in “economic ripple effects,” 26,000
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million in lost tax revenue. (Mem. of Law in Supp. of Pls.’ Mot. for Prelim. I

Judicial Review (“Pls.” Mem.”), ECF No. 35, at 10-13.) Such actual and is
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“fairly traceable” to Defendants’ promulgation of the Rule. Accordingly, Pla

to assert their claims. |

2. Plaintiffs’ Claims Are Ripe for Judicial Review.

To be justiciable, Plaintiffs’ claims must also be ripe—that is, they “
substantial controversy, not a mere hypothetical question.’” Nat 71 Org. ie
Walsh, 714 F.3d 682, 687 (2d Cir. 2013) (quoting AMSAT Cable Ltd. v. Cal
F.3d 867, 872 (2d Cir.1993)). “Ripeness ‘is peculiarly a question of timing
not ripe if it depends upon ‘contingent future events that may not occur as a

may not occur at all.’” Jd. (quoting Thomas v. Union Carbide Agric. Prods

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580-81 (1985)).

“Ripeness encompasses two overlapping doctrines concerning the exe

jurisdiction.” Entergy Nuclear Vt. Yankee, LLC v. Shumlin, 733 F.3d 393)

(citing Reno v. Catholic Soc. Servs., Inc., 509 U.S. 43, 57 n.18 (1993)) (inte

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omitted). The first, constitutional ripeness, “overlaps with the Standing doctn

the shared requirement that the plaintiffs injury be immipent rather

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hypothetical.’” In re Methyl Tertiary Butyl Ether (MTBE) Prods. Liab. Liti

 

2? Plaintiffs allege that such programmatic costs include those sociated “wit

“enrollment, processing, and recordkeeping systems; retraining staff and preparing
responding to public concerns.” (Jd. at 3.)

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care; programmatic

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lost jobs, and $175
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Dr Marriage, Inc. v.

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429 (2d Cir. 2013)
tal quotation marks
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ig., 725 F.3d 65, 110

h updating Plaintiffs’
updated materials; and

 
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(2d Cir. 2013) (quoting Ross v. Bank of Am., N.A., 524 F.3d 217, bas (2nd Ci

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ripeness, meanwhile, is “‘an important exception to the usual rule that where
federal court must exercise it,’ and allows a court to determine ‘that the case v

later.”” Jd. (quoting Simmonds v. Immigration Naturalization Serv., 326 F.4

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2003)). In determining whether a case is prudentially ripe, courts examine “(

is fit for judicial decision and (2) whether and to what extent the parties wi

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decision is withheld.” Simmonds, 326 F.3d at 359 (citing Abbott Labs. v. Ga

t
148-49 (1967). !

One can conceive of no issue of greater ripeness than that presente

scheduled to go into effect in a matter of days, at which point hundreds of tho
who were previously eligible for admission and permanent residence in the
longer be eligible because of this change of law. Adverse conséquences and

soon begin to have their effect. The Rule is intended to immediately G

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population to avoid public benefits. Plaintiffs must be prepared to immediatel

of this change in policy.

No further factual predicate is necessary for purposes of determining y

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is clearly a legal question about whether the Rule exceeds Defendants’

violates the law, and is arbitrary and capricious. Moreover, for the same re

sufficiently allege an injury under the standing inquiry, they have shown t

significant hardship with any delay. Accordingly, Plaintiffs’ blaims ate r

constitutionally and prudentially.

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l) whether [the case]
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3. Plaintiffs Are Within the Zone of Interests Regulated By tl

The final threshold question raised by Defendants is whether Plaintiff

“fall within the zone of interests protected by the law invoked.” Lexmark
Control Components, Inc., 572 U.S. 118, 129 (2014) (citation and interr
omitted). The zone-of-interests test is “not ‘especially demanding,” particu
the APA and its “generous review provisions.” Jd. at 130 (citation and inter
omitted). Indeed, in the APA context, the Supreme Court has “often ‘conspi«
word “arguably” in the test to indicate that the benefit of any doubt goes tq

(citation omitted). “The test forecloses suit only when a plaintiff's ‘interes

related to or inconsistent with the purposes implicit in the statute that it c

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assumed that Congress intended to permit the suit.

Pottawatomi Indians v. Patchak, 567 U.S. 209, 225 (2012) (citation omitted)

Plaintiffs plainly fall within the INA’s zone of interests. The interest

state and local governments are inextricably intertwined. Among a state

obligations are representing and protecting the rights and welfare of

administrators of the public benefits programs targeted by the Rule, (see Pls.’ ]

Reply at 4 (noting INA’s direct reference to states’ roles as benefit admini

interests are all the more implicated. Furthermore, the zone-of-interests test °
plaintiff to be an intended beneficiary of the law in question,” but instead a
“who are injured” to seek redress. Citizens for Responsibility & Ethics in Was
474, 2019 WL 4383205, at *16 (2d Cir. Sept. 13, 2019). The Supreme Ca

found that economic injuries like those alleged here satisfy the test. See, e.g.

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Mem. at 14-17; Pls.’
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h. v. Trump, No. 18-

urt has consistently

, Bank of Am. Corp.

v. City of Miami, 137 S.Ct. 1296, 1304-05 (2017) (finding city’s discriminatory lending claims

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within zone of interests of Fair Housing Act, despite economic nature of harms-all¢ged and absence

of any indication that Act was intended to protect municipal budgets).

B. Plaintiffs Sufficiently Allege That the Rule Exceeds Statutory

Contrary to Law.

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Authority and Is

Turning to the merits of Plaintiffs’ claims, Plaintiffs argue that the Rue violates the APA

because it exceeds DHS’s delegated authority under the INA and is contrary

to law. See 5 U.S.C

§ 706(2)(A), (C). In analyzing an agency’s interpretation of a statute and whether the agency’s

action exceeds statutory authority, courts often apply the two-step frame

Chevron U.S.A., Inc. v. Natural Resources Defense Council, Inc., 467 U.S.

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I. . .
work articulated in

837 (1984). “[T]he

question . . . is always whether the agency has gone beyond what Congress has permitted it to

do[.]” City of Arlington v. FCC, 569 U.S. 290, 298 (2013). Under Chevron, courts first ask

whether the statute is clear. Chevron, 467 U.S. at 842. If so, “that is the end. of the matter[,] for

the court, as well as the agency, must give effect to the unambiguously

Congress.” Id. at 842-43. Where there is ambiguity, however, courts th

expressed intent of

en ask whether the

agency’s interpretation of the statute is reasonable. Jd. at 843-44. Such deference “is premised

on the theory that a statute’s ambiguity constitutes an implicit delegation fr

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om Congress to the

agency to fill in the statutory gaps.” FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120,

159 (2000). Notwithstanding this implicit delegation, “agencies must operate

‘within the bounds

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of reasonable interpretation,’” and “reasonable statutory interpretation must account for both ‘the

specific context in which . . . language is used’ and ‘the broader context

of the statute as a

whole.” Util. Air Regulatory Grp. v. EPA, 573 U.S. 302, 321 (2014) (citations omitted).

1. Long-Standing Definition of “Public Charge.”

Plaintiffs argue that the new Rule’s definition of “public charge” is a dr

the unambiguous and well-established meaning of the term that has ex

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isted for over 130

 
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years. (Pls.” Mem. at 2, 19~24.) They assert that the term has consistently been interpreted
narrowly to mean “an individual who is or is likely to become primarily and permanently
dependent on the government for subsistence.” (/d. at 3.) Going as far back as 1882, when
Congress passed the first federal immigration statute, Plaintiffs note that the statute rendered
excludable “convicts, lunatics, idiots, and any person unable to take care of ‘himself without
becoming a public charge,” (id. at 20 (quoting Immigration Act of 1882, oh 376, 22 Stat. 214,
47th Cong. (1882))), and that it sought to “prevent long-term residence in the United States of
those ‘who ultimately become life-long dependents on our public charities” (id. (quoting 13
Cong. Rec. 5108-10 (June 19, 1882) (statement of Rep. Van Voorhis)).) As Plaintiffs note, ‘“[flar
from excluding as public charges immigrants who received temporary assistance, the same law
authorized immigration officials to provide ‘support and relief? to immigrants who may ‘need
public aid’ after their arrival.” (/d. (quoting Immigration Act of 1882 at §§ 1) 2).)

Plaintiffs point to court decisions in the years that followed, confirming this definition of
“public charge,” as well as the INA itself, which adopted this interpretation, upon its passage in
1952. (id. at 21-22.) According to Plaintiffs, federal agencies have also Konsistently viewed

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“public charge” to mean someone who is “primarily dependent on the government for cash
assistance or on long-term institutionalization,” as evidenced by (1) INS’s 1 099 Field Guidance,
which formally codified this definition; (2) INS’s “extensive[]” consultations with other agencies
prior to issuing the guidance; and (3) the Department of Justice’s use of the “timarily dependent”
standard in the deportation context. Ud. at 22-23.)

In opposition, Defendants assert that the definition of “public charge” in the Rule “is
consistent with the plain meaning of the statutory text, which ‘is to be determined at the time that

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it became law.’” (Defs.’ Opp’n at 13 (quoting One West Bank v. Melina, 827 F.3d 214, 220 2d

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Cir. 2016)).) They direct this Court to dictionaries used in the 1880s, when the Immigration Act
of 1882 was passed, which allegedly “make clear” that a noncitizen becomes a “public charge”
“when his inability to achieve self-sufficiency imposes an ‘obligation’ or ‘li bility’ on ‘the body
of the citizens’ to provide for his basic necessities.” (Jd. at 13-14.)
Upon review of the plain language of the INA, the history and common-law meaning of
“public charge,” agency interpretation, and Congress’s repeated reenactment of the INA’s public
charge provision without material change, one thing is abundantly clear—public charge” has
never been understood to mean receipt of 12 months of benefits within a 36-month
period. Defendants admit that this is a “new definition” under the Rule. (14. at 5.) And at oral
argument, they did not dispute that this definition has never been referenced in the history of U.S.
immigration law or that there is zero precedent supporting this particular definition. (See, e.g., Tr.
of Oral Arg. dated Oct. 7, 2019 at 51:8-11, 52:1-3.) No ordinary or legal dictionary definition of
“public charge” references Defendants’ proposed meaning of that term. As such, Plaintiffs raise
a compelling argument that Defendants lack the authority to redefine “public charge” as they have.
2. Congress’s Intent.

Nor is there any evidence that Congress intended for a redefinition of ‘public charge,” and
certainly not in the manner set forth in the Rule. No legislative intent or historical precedent
alludes to this new definition. Defendants have made no showing that Congress was anything but
content with the current definition set forth in the Field Guidance, which defines public charge as
someone who has become or is likely to become primarily dependent on the government for cash
assistance. Indeed, Congress has repeatedly endorsed this definition and rejected efforts to expand
it. For example, during the 1996 debate over ITRIRA, several members of Congress tried and

failed to extend the meaning of public charge to include the use of non-cash benefits. See 142

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Cong. Rec. $11612, at $11712 (daily ed. Sept. 16, 1996). Congress rejected similar efforts in 2013
because of its “strict benefit restrictions and requirements.” S. Rep. 113-40, at 42 (2013).

In addition, if Congress wanted to deny immigrants any of the public benefits enumerated
in the Rule, it could have done so, as it similarly has in the past. The Welfare Reform Act, for
example, restricted certain noncitizens’ eligibility for certain benefits. Specifically, it provided
that only “qualified” noncitizens—which, in most cases, meant those who had remained in the
United States for five years—could have access to most federal means-tested public benefits. 8
US.C §§ 1612, 1613. Therefore, the absence of any Congressional intent to redefine public
charge also counsels in favor of a preliminary injunction.

C. Plaintiffs Sufficiently Demonstrate That the Rule Is Arbitrary and Capricious.

Plaintiffs additionally argue that the Rule is arbitrary and capricio is. See 5 U.S.C. §
706(2)(A). “The scope of review under the ‘arbitrary and capricious’ standard is narrow[.|” Motor
Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983).
Nevertheless, the APA requires an agency to “engage in ‘reasoned decisionmaking,’” Michigan v.
EPA, 135 S. Ct. 2699, 2706 (2015) (citation omitted), and to “articulate a satisfactory explanation
for its action,” State Farm, 463 U.S. at 43 (citation omitted). An agency rule is arbitrary and
capricious if the agency:

relied on factors which Congress has not intended it to consider, entirely failed to
consider an important aspect of the problem, offered an explanation foy its decision
that runs counter to the evidence before the agency, or is so implausible|that it could
not be ascribed to a difference in view or the product of agency expertise.
Id. Where an agency action changes prior policy, the agency need not demonstrate “that the
reasons for the new policy are better than the reasons for the old one.” FCC y. Fox Television

Stations, Inc., 556 U.S. 502, 515 (2008). It must, however, “show that there are good reasons for

the new policy.” Jd. This requirement is heightened where the “new policy ‘rests upon factual

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findings that contradict those which underlay its prior policy,” id. (citation om tted), as “a reasoned
explanation is needed for disregarding facts and circumstances that underlay or were engendered
by the prior policy,” id. at 516.
1. Defendants’ Justification of Rule.
Here, Defendants fail to provide any reasonable explanation for changing the definition of
“public charge” or the framework for evaluating whether a noncitizen is likely to become a public
charge. As noted above, “public charge” has never been interpreted as someone “who receives
one or more public benefits . . . for more than 12 months in the aggregate within any 36-month
period.” 84 Fed. Reg. at 41,501. This new definition essentially changes. the public charge
assessment into a benefits issue, rather than an inquiry about sel/fsubsistence, such that any
individual who is deemed likely to accept a benefit is considered a public charge. Receipt of a
benefit, however, does not necessarily indicate that the individual is unable to support herself. One
could envision, for example, a scenario where an individual is fully capable of supporting herself
without government assistance but elects to accept a benefit, such as public housing, simply
because she is entitled to it. Under the Rule, although this individual is legally entitled to public
housing, if she takes advantage of this right, she may be penalized with denjal of adjustment of
status. There is no logic to this framework. Moreover, considering that tthe federal welfare
program was not established in the United States until the 1930s, whereas the concept of public
charge existed at least as early as 1882, there must be some definition of public charge separate
and apart from mere receipt of benefits.
At oral argument, Defendants were afforded numerous opportunities to|articulate a rational
basis for equating public charge with receipt of benefits for 12 months within|a 36-month period,

particularly when this has never been the rule. Defendants failed each and every time. When

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asked, for example, why the standard was 12 months and 36 months as opposed to any other
number of months, Defendants merely responded that they do not need to “sh ow a case from 100
years ago that also adopted this precise 12[/]36 standard.” (Tr. of Oral Arg. dated Oct. 7, 2019 at
53:14-20.) Defendants were asked to explain how the new framework would operate and to
provide an example of the “typical person” that Defendants could predict is |going to receive 12
months of benefits in a 36-month period. (/d. 68:11-80:123.) Defendants again stumbled along
and were unable to adequately explain what the determinative factor is under the Rule, what
individual would fall across the line and be considered a public charge, and what evaluation of the
factors enumerated in the Rule would make the DHS officer confident that|she could make an
appropriate prediction. (/d.) And yet, according to Defendants, the Rule is intended to “provide[]
a number of concrete guidelines to assist in making [the public charge] determination” and is
“designed . . . to make it more predictable for people on both sides of the adjudicatory process.”
(id. at 80:20-23.) Quite the opposite appears to be the case.

Defendants suggest that the totality-of-circumstances test remains and that receipt of
benefits for 12 months out of a 36-month period is only one of several factors to be considered.
(Id. at 52:17-22.) This characterization of the Rule is plainly incorrect. Under the Rule, receipt
of such benefits is not one of the factors considered; it is the factor. That Is, if a DHS officer
believes that an individual is likely to have benefits for 12 months out of a 3@-month period, the
inquiry ends there, and the individual is automatically considered a public, charge. As such,
Defendants are not simply expanding or elaborating on the list of factors to copsider in the totality
of the circumstances. Rather, they are entirely reworking the framework, and with no rational

basis.

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Defendants also fail to demonstrate rational relationships between many Of the additional
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factors enumerated in the Rule and a finding of benefits use. One illustr.

addition of English-language proficiency as a factor. Defendants do not di

never been an English-language requirement in the public charge analysis. T]
that it was “entirely reasonable” to add English proficiency as a factor, giver
the INA to consider an applicant’s “education and skills,” and the “correlatio

English language skills and public benefit usage, lower incomes, and lower rat

(Defs.’ Opp’n at 27.) Defendants’ suggestion that an individual is likely to bec

simply by virtue of her limited English proficiency is baseless, as one can cere

and self-sufficient citizen without knowing any English. The United States

official language. Many, if not most, immigrants who arrived at these shores di

It is simply offensive to contend that English proficiency is a valid predictor o
In short, Defendants do not articulate why they are changing the publi

why this new definition is needed now, or why the definition set forth in th

absolutely no support in the history of U.S. immigration law—is reasonable.

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The Rule is simply

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a new agency policy of exclusion in search of a justification. It is repugnant to the American

Dream of the opportunity for prosperity and success through hard work an

Immigrants have always come to this country seeking a better life for th

posterity. With or without help, most succeed.

 

3 Similarly, it is unclear how the credit score of a new immigrant—who, for exar
recently opened her first credit account and therefore has a short credit history, wh
impact her credit score—is indicative of her likelihood to receive 12 months of public
blithely argue that a low credit score “is an indication that someone has made finan¢
not necessarily entirely responsible” and that “those irresponsible financial decision

of someone who doesn’t have very much money to work with.” (Tr. of Oral Arg.
86:16-20).

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2. Rehabilitation Act.

Plaintiffs further argue that the Rule discriminates against individuals] with disabilities, in
contravention of Section 504 of the Rehabilitation Act, Pub. L. No. 93-112, 87 Stat. 394 (1973)
(codified at 29 U.S.C. § 794). Section 504 provides that no individual with a disability “shall,
solely by reason of her or his disability, be excluded from the participation in, be denied the
benefits of, or be subjected to discrimination . . . under any program or activity conducted by any
Executive agency.” 29 U.S.C. § 794(a). DHS, in particular, is prohibited from denying access to
benefits and services on the basis of disability, 6 C.F.R. § 15.30(b)(1), and from using
discriminatory criteria or methods of administration, id § 15.30(b)(4). See also id § 15.49.
“Exclusion or discrimination [under Section 504] may take the form of disparate treatment,
disparate impact, or failure to make reasonable accommodation.” B.C. v. Mount Vernon Sch. Dist.,
837 F.3d 152, 158 (2d Cir. 2016).

The Rule clearly considers disability as a negative factor in the public charge assessment.
Defendants acknowledge that disability is “one factor . . . that may be considered” and that it is
“relevant... to the extent that an alien’s particular disability tends to show that he is ‘more likely
than not to become a public charge’ at any time.” (Defs.’ Opp’n at 30 (quoting 84 Fed. Reg. at
41,368).) Defendants do not explain how disability alone is itself a negative factor indicative of
being more likely to become a public charge. In fact, it is inconsistent with the reality that many
individuals with disabilities live independent and productive lives. As such, Plaintiffs have raised
at least a colorable argument that the Rule as to be applied may violate the Rehabilitation Act, and

further discovery and development of the record is warranted prior to its implementation.

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IV.

“A showing of irreparable harm is ‘the single most important prerequi

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of a preliminary injunction.

(2d Cir. 2009) (citation omitted). “To satisfy the irreparable harm requirem

demonstrate that absent a preliminary injunction they will suffer ‘an injury th

nor speculative, but actual and imminent,’ and one that cannot be remedied ‘
the end of trial to resolve the harm.’” Grand River Enter. Six Nations, Ltd. v.

66 (2d Cir. 2007) (citation omitted). However, Plaintiffs need only show “a

harm, not that irreparable harm already ha[s] occurred.” Mullins v. City of Nev

55 (2d Cir. 2010).

The irreparable injury to Plaintiffs by shifting the burden of providir

who can no longer obtain federal benefits without jeopardizing their status i

and the immediate response that is necessary by this shift of burden to Plaint

inevitable consequence of the impending implementation of the Rule.

Plaintiffs allege that their injuries will include proprietary and economic harm,

healthcare and programmatic costs, and that they will suffer substantial

preliminary injunction. See supra Parts IIL.A.1-2. Plaintiffs provide decla

describing and calculating such injuries. (See Decl. of Elena Goldstein, ECI

additional declarations and comment letters on proposed rule).)

No less important is the immediate and significant impact that the im

Rule will have on law-abiding residents who have come to this country to se

consequences that Plaintiffs must address, and America must endure, will be

disruption, much of which cannot be undone. Overnight, the Rule will ex

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PLAINTIFFS HAVE DEMONSTRATED THAT THEY WI
IRREPARABLE HARM ABSENT A PRELIMINARY IN,

Faiveley Transp. Malmo AB v. Wabtec Corp.

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559 F.3d 110, 118
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Pryor, 481 F.3d 60,
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York, 626 F.3d 47,

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economic insecurity, health instability, denial of their path to citizen:
deportation—none of which is the result of any conduct by those such injuri¢
tule that will punish individuals for their receipt of benefits provided by o
discourages them from lawfully receiving available assistance intended to ai
contributing members of our society. It is impossible to argue that there is no
these individuals, Plaintiffs, and the public at large.

Vv. THE BALANCE OF HARDSHIPS AND PUBLIC INT

TIP IN PLAINTIFFS’ FAVOR

Finally, Plaintiffs must demonstrate that “the balance of equities tips

that “an injunction is in the public interest.” Winter, 555 U.S. at 20. “These
the Government is the opposing party.” Nken v. Holder, 556 U.S. 418, 435 (

these factors, the court must “balance the competing claims of injury and mus

on each party of the granting or withholding of the requested relief,” as )

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well as “the public

consequences in employing the extraordinary remedy of injunction.” Winter, 555 U.S. at 24

(citations omitted).
Here, preventing the alleged economic and public health harms pro
public benefit. As discussed above, these harms are not speculative or insuffi

In fact, the notice of proposed rulemaking itself acknowledged that the Rule c«

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health outcomes”; “[i]ncreased use of emergency rooms and emergent care as 4
health care due to delayed treatment”; “[i]ncreased prevalence of comm;

including among members of the U.S. citizen population who are not vaccinat

uncompensated care in which a treatment or service is not paid for by an 1

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“fijncreased rates of poverty and housing instability”; “[rjeduced productivj

attainment”; and other “unanticipated consequences and indirect costs.” 83 Fe

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d. Reg. at 51,270.

 
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Moreover, there is no public interest in allowing Defendants to proce¢
arbitrary, and capricious rule that exceeds their statutory authority. See Pla
N.Y.C., Inc. v. U.S. Dep’t of Health & Human Servs., 337 F. Supp. 3d 308, 3
(“It is evident that ‘[t]here is generally no public interest in the perpetuation
action.’ ... The inverse is also true: ‘there is a substantial public interest in ‘hi
agencies abide by the federal laws that govern their existence and operations
of Women Voters of U.S. vy, Newby, 838 F.3d 1, 12 (D.C. Cir. 2016)).)

To be sure, Defendants have a legitimate interest in administering the n
system. However, that interest is not paramount in this instance, particularly
fail to demonstrate why or how the current public charge framework is inads

have applied their current rules for decades, and the current concept of “publ

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IC charge” has been
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accepted for over a century. Aside from conclusory allegations that they will “be harmed by an

impediment” to administering the immigration system, (Defs.’ Opp’n at 38),
and cannot—articulate what actual hardship they will suffer by maintaining th
Accordingly, because Plaintiffs are likely to succeed on the merits and 1
harm absent preliminary relief, and the balance of hardships and public intere
Plaintiffs are entitled to a preliminary injunction.
VI. THE INJUNCTION SHOULD APPLY NATIONWID
As to the scope of the relief, a nationwide injunction is necessary. The s
injunctive relief generally should be “no broader than necessary to cure the
caused by the violation” and “not impose unnecessary burdens on lawful ac

Dwight Co. v. SPD Swiss Precision Diagnostics, GmBH, 843 F.3d 48, 72 (2d q

omitted). However, there is no requirement that an injunction affect only the

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See Califano v. Yamasaki, 442 U.S. 682, 702 (1979) (“[T]he scope of injunctive relief is dictated

by the extent of the violation established, not by the geographical extent of the plaintiff class.”)

Here, a nationwide injunction is appropriate. First, national immigration policies, such as
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the Rule, require uniformity. Hawaii v. Trump, 878 F.3d 662, 701 (9th Cir. 2017), rev ‘d on other

3d 401, 438

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grounds, 138 S. Ct. 2392 (2018); see also Batalla Vidal v. Nielsen, 279 F| Supp.

(E.D.N.Y. 2018) (granting nationwide injunction preventing rescission of petened Action for

Childhood Arrivals program in part because “there is a strong federal interest\in the uniformity of

federal immigration law”); U.S. Const. art. I, § 8, cl. 4 (“The Congress shall|have Power . . . To

 

establish a[] uniform Rule of Naturalization.”). A geographically limited injunction that would

result in inconsistent applications of the Rule, and different public charge dpterminations based
upon similar factors, is inimical to this need for uniformity in immigration ent

orcement.

 

Indeed, at least nine lawsuits have already been filed challenging the Rule, including State

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of California v. U.S. Department of Homeland Security, 19 Civ. 4975 (PJH) (N.D. Cal.) and State

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5210 (RMP) (E.D.

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Commonwealth of Virginia, State of Colorado, State of Delaware, State Of Illinbis, State of

of Washington v. United States Department of Homeland Security, 19 Civ.
Wash.).* In just these two actions alone, Plaintiffs include the State of Ca

Columbia, State of Maine, Commonwealth of Pennsylvania, State of Oregon, S

Maryland, Commonwealth of Massachusetts, Attorney General Dana Nessel on behalf of the

People of Michigan, State of Minnesota, State of Nevada, State of New Jersey, tate of New

Mexico, and State of Rhode Island. Combined with the instant action, that means that nearly two

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4 In addition to the instant action and the related action both before this Court, these
Mayor and City Council of Baltimore v. United States Department of Homeland Sé
(PJM) (D. Md.); Casa De Maryland, Inc. v. Trump, 19 Civ. 2715 (PWG) (D. Md.); Ci
Francisco v. U.S. Citizenship and Immigration Services, 19 Civ. 4717 (PJH) (N.D. Ca
Raza y. Trump,
(GF) (N.D. III.).

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other actions include
curity, 19 Civ. 2851
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1.); La Clinica De La

19 Civ. 4980 (PJH) (N.D. Cal.); and Cook County, Illinois v. Medlpenan, 119 Civ. 6334

 

 

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dozen jurisdictions have already brought suit. It would clearly wreak havoc
system if limited injunctions were issued, resulting in different public charge
across the country, based solely on geography. Batalla, 279 F. Supp. at 438 (
injunction where more limited injunction “would likely create administrati‘
Defendants”).

There is no reasonable basis to apply one public charge framework to 0
and a different public charge framework to a second set of individuals merely
different states. It would be illogical, for example, if a New York reside
adjustment of status but a resident of a sister state with the same exact backgrou
only because the second resident had the misfortune of living somewhere not ¢
injunction.

Relatedly, a nationwide injunction is necessary to accord Plaintiffs ¢
parties with complete redress. In particular, an individual should not have {
from one state to another could result in a denial of adjustment of status. |
injunction were limited to New York, Connecticut, and Vermont, and a New Y|
to New Jersey where the injunction would not apply, this individual could th
public charge and face serious repercussions simply for crossing state bordg

travel throughout the United States has long been recognized as a bas

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Constitution.” United States v. Guest, 383 U.S. 745, 758 (1966) (citations omitted)! It has been

considered a “right so elementary [that it] was conceived from the beginning

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concomitant of the stronger Union the Constitution created.” Id.; see also Griffin v. Breckenridge,

403 U.S. 88, 105 (1971) (“Our cases have firmly established that the right o interstate travel is

constitutionally protected, does not necessarily rest on the Fourteenth

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Case 1:19-cv-07777-GBD Document 110 Filed 10/11/19 Page 24 of 24

assertable against private as well as governmental interference.”) The Supteme Court’s

recognition of the preeminence of this right lends further support for a nationwide injunction that

would not interfere with individuals’ ability to move from one place to anothe

r. See; e.g., Batalla,
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279 F. Supp. 3d at 438 (finding nationwide injunction appropriate “partly in lightiof the simple

fact that people move from state to state and job to job”).

Accordingly, this Court grants a nationwide injunction, as well as a

 

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stay postponing the

effective date of the Rule pending a final ruling on the merits, or further order of the Court.°

Vil. CONCLUSION

Plaintiffs’ motion for issuance of a preliminary injunction, (ECF No. B3), is GRANTED.

Dated: New York, New York
October 11, 2019
SO ORDERED.

Csiy, B.D

ORGE B. DANIELS |

United States District

 

5 The standard for a stay under 5 U.S.C. § 705 is the same as the standard for a prelin
Res. Def, Council v. U.S. Dep't of Energy, 362 F. Supp. 3d 126, 149 (S.D.N.Y. 20
Court grants the stay for the same reasons it grants the injunction.

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Judge |

1inary injunction. Nat.
19). Accordingly, this

 

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